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 5
     ALEXANDER KOKHANETS

 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                           SACRAMENTO DIVISION
 9

10                                                   )       Case No. CR S 11 -00427 LKK
     UNITED STATES OF AMERICA,                       )
11                                                   )
                                     Plaintiff,      )
12                                                   )       STIPULATION AND ORDER TO
             vs.                                     )       CONTINUE STATUS CONFERENCE
13                                                   )
                                                     )       Date: June 25, 2013
14   ALEXANDER KOKHANETS, et al.                     )       Time: 9:15 a.m.
                                                     )       Judge: Hon. Lawrence K. Karlton
15                                                   )
                                     Defendants.     )
16

17            IT IS HEREBY stipulated between the United States of America through its undersigned
18   counsel, Lee Bickley, Esq., Assistant United States Attorney, together with Joseph J. Wiseman,
19   Esq., counsel for defendant, Alexander Kokhanets, that the status conference presently set for
20   March 26, 2013, be continued to June 25, 2013, at 9:30 a.m., thus vacating the presently set
21   status conference.
22            Defense counsel requires additional time to review the discovery and investigate the facts
23   of the case. The parties stipulate and agree that the requested continuance is necessary to provide
24   defense counsel reasonable time necessary for effective preparation, taking into account the
25   exercise of due diligence. The parties agree that the ends of justice to be served by a continuance
26   outweigh the best interests of the public and the defendants in a speedy trial, and they ask the
27   Court to exclude time within which the trial of this matter must be commenced under the Speedy
28   Trial Act from the date of this stipulation, March 22, 2013, through June 25, 2013, pursuant to 18

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     Continue Status Conference
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 1   U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4, pertaining to reasonable time for defense
 2   preparation.
     IT IS SO STIPULATED.
 3

 4   Dated: March 22, 2013                                   By: /s/ Joseph J. Wiseman
                                                             JOSEPH J. WISEMAN
 5                                                           Attorney for Defendant
                                                             Alexander Kokhanets
 6

 7   Dated: March 22, 2013                                   Benjamin B. Wagner
                                                             United States Attorney
 8
                                                             By: /s/ Joseph J. Wiseman for Lee Bickley
 9
                                                             LEE BICKLEY
10                                                           Assistant U.S. Attorney

11
                                                    ORDER
12

13            The Court having received, read, and considered the stipulation of the parties and good

14   cause appearing therefrom, the Court adopts the parties' stipulation as its order in its entirety. It is

15   ordered that the status conference presently set for March 26, 2013, be continued to

16   June 25, 2013, at 9:15 a.m. The Court hereby finds that the requested continuance is necessary to

17   provide defense counsel reasonable time necessary for effective preparation, taking into account

18   the exercise of due diligence. The Court finds the ends of justice to be served by granting a

19   continuance outweigh the best interests of the public and the defendants in a speedy trial. It is

20
     ordered that time from the date of the parties’ stipulation, March 22, 2013, up to and including,

21
     the June 25, 2013, status conference shall be excluded from computation of time within which

22
     the trial of this matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.

23
     §3161(h)(7)(A) and (B)(iv) and Local Code T4 (allow defense counsel reasonable time to

24
     prepare).

25
     IT IS SO ORDERED.
     Dated: March 25, 2013
26

27

28


     Stipulation and Order to                           2                       Case No. CR S 11 0427 LKK
     Continue Status Conference
